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 6                          IN THE UNITED STATES DISTRICT COURT
 7                              FOR THE DISTRICT OF ARIZONA
 8                                             )
      Nicole Schmidt,                               No. CV-21-01797-PHX-SPL
 9                                             )
                                               )
                        Plaintiff,             )    ORDER
10                                             )
      vs.
11                                             )
                                               )
      A3 Smart Home LP,                        )
12                                             )
13                      Defendant.             )
                                               )
14
15          Before the Court is Plaintiff’s Motion for Telephonic Appearance (Doc. 23), in
16   which she requests to appear by phone at the Rule 16 Case Management Conference
17   currently scheduled for April 26, 2022. The parties’ joint report was due April 15, 2022.
18   If after review of the joint report, the Court deems it necessary to hold a Case Management
19   Conference, the Court will revisit Plaintiff’s request and advise accordingly. Otherwise,
20   the Court will vacate the Scheduling Conference and enter a Case Management Order.
21          IT IS THEREFORE ORDERED that the Motion for Telephonic Appearance
22   (Doc. 23) is denied.
23          Dated this 18th day of April, 2022.
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25                                                    Honorable Steven P. Logan
                                                      United States District Judge
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